     Case 2:19-cv-01376-PSG-SS Document 1 Filed 02/25/19 Page 1 of 5 Page ID #:1



 1    ARNOLD & PORTER KAYE SCHOLER LLP
      Sean A. McCormick (SBN 295711)
 2    sean.mccormick@arnoldporter.com
      777 S. Figueroa Street, 44th Floor
 3    Los Angeles, CA 90017
      Telephone: (213) 243-4000
 4    Facsimile: (213) 243-4199
 5    Attorney for Defendant
      MWW GROUP, LLC
 6
 7
 8
 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                 WESTERN DIVISION
12    HB CONTENT, LLC, a California limited        Case No. 2:19-cv-01376
      liability company,
13                                                 DEFENDANT MWW GROUP,
                         Plaintiff,                LLC’S NOTICE OF REMOVAL
14
             vs.
15    MWW GROUP, LLC, a Delaware limited           Action Filed:     January 15, 2019
      liability company; DOES 1-10,                Action Served:    January 25, 2019
16
                         Defendants.
17
18
19
20
21
22
23
24
25
26
27
28


                                    NOTICE OF REMOVAL
     Case 2:19-cv-01376-PSG-SS Document 1 Filed 02/25/19 Page 2 of 5 Page ID #:2



 1          Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, defendant MWW Group, LLC
 2    (“MWW”) hereby gives notice of removal of this action, captioned HB Content, LLC
 3    v. MWW Group, LLC et al., bearing case number 19SMCV00083, from the Superior
 4    Court of California, County of Los Angeles, to the United States District Court for
 5    the Central District of California. This Court has jurisdiction over this action because
 6    there is complete diversity of citizenship between Plaintiff and Defendants, and the
 7    amount in controversy exceeds $75,000, exclusive of interest and costs.
 8                                       BACKGROUND
 9          1.     On January 15, 2019, Plaintiff filed this action in the Superior Court of
10    California for the County of Los Angeles.
11          2.     As discussed below, there is complete diversity of citizenship between
12    Plaintiff and Defendants.
13          3.     MWW received the Complaint through service on January 25, 2019.
14    Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders served
15    on MWW is attached hereto as Exhibit 1.
16                                VENUE AND JURISDICTION
17          4.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 84, 1391, and
18    1441(a) because the Superior Court of California, County of Los Angeles, where the
19    Complaint was filed, is a state court within the Central District of California.
20          5.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a)
21    because (1) there is complete diversity of citizenship between Plaintiff and
22    Defendants; (2) the amount in controversy exceeds $75,000, exclusive of interests
23    and costs; and (3) all other requirements for removal have been satisfied.
24    I.    THERE IS COMPLETE DIVERSITY OF CITIZENSHIP
25          6.     There is complete diversity of citizenship here because Plaintiff is a
26    California citizen and Defendant MWW is a citizen of states other than California.
27          7.     For purposes of diversity jurisdiction, a limited liability company is a
28    citizen of every state in which its members are citizens. See Johnson v. Columbia

                                                -2-
                                        NOTICE OF REMOVAL
     Case 2:19-cv-01376-PSG-SS Document 1 Filed 02/25/19 Page 3 of 5 Page ID #:3



 1    Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006) (“[A]n LLC is a citizen
 2    of every state of which its owners/members are citizens.”).
 3          8.      Plaintiff HB Content, LLC is a California limited liability company.
 4    According to records filed with the California Secretary of State, HB Content, LLC’s
 5    members are Rachel Miller, Kevin Mann, and Chris Boyd, each of whom are
 6    California citizens. Accordingly, HB Content, LLC is a California citizen.
 7          9.      Defendant MWW Group, LLC is a Delaware limited liability company.
 8    MWW Group, LLC’s members are citizens of Washington D.C., New Jersey, New
 9    York, Illinois, and Maryland. No member of MWW Group, LLC is a citizen of
10    California.
11          10.     The citizenship of the unnamed, unidentified Doe Defendants should be
12    ignored for purposes of determining whether this action is removable based on
13    diversity of citizenship. See 28 U.S.C. § 1441(b)(1) (“In determining whether a civil
14    action is removable on the basis of [diversity of citizenship], the citizenship of
15    defendants sued under fictitious names shall be disregarded.”).
16    II.   THE AMOUNT IN CONTROVERSY EXCEEDS $75,000
17          11.     “[A] defendant’s notice of removal need include only a plausible
18    allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart
19    Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014). “[W]hen
20    a defendant seeks federal-court adjudication, the defendant’s amount-in-controversy
21    allegation should be accepted when not contested by the plaintiff or questioned by the
22    court.” Id. at 553. In determining whether the amount in controversy is satisfied, the
23    Court may consider actual as well as punitive damages. See Anthony v. Sec. Pac. Fin.
24    Servs., Inc., 75 F.3d 311, 315 (7th Cir. 1996).
25          12.     Here, it is clear that the amount in controversy exceeds $75,000. The
26    Complaint asserts that Plaintiff is owed $250,000 as the outstanding balance on an
27    alleged contract for services, and that Plaintiff has been damaged in the amount of
28

                                                -3-
                                        NOTICE OF REMOVAL
     Case 2:19-cv-01376-PSG-SS Document 1 Filed 02/25/19 Page 4 of 5 Page ID #:4



 1    $250,000. (See Compl. ¶ 13, 20, 22, 42, 48.) Additionally, Plaintiff seeks punitive
 2    damages. (See id. p.7.)
 3    III.   ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED
 4           A.     This Notice of Removal Is Timely
 5           13.    This Notice of Removal is timely filed. MWW received the Complaint
 6    through service on January 25, 2019. Because MWW filed the Notice of Removal on
 7    February 25, 2019, removal is timely. See 28 U.S.C. § 1446(b)(1); Fed. R. Civ. Proc.
 8    6(a)(1)(C).
 9
             B.     No Other Defendants Have Been Served, So Consent from Other
10                  Defendants is Unnecessary
11           14.    For purposes of removal based on diversity jurisdiction under 28 U.S.C.
12    § 1332(a) and pursuant to 28 U.S.C. § 1446(b), all defendants who have been
13    properly joined and served must consent to removal.
14           15.    MWW is the only Defendant that has been served. The remaining
15    Defendants are unnamed, unidentified Doe Defendants. Accordingly, all properly
16    joined and served defendants consent to removal.
17           C.     Notice of Removal
18           16.    Pursuant to 28 U.S.C. § 1446(d), MWW will give written notice of the
19    filing of this Notice of Removal to all parties of record in this matter, and will file a
20    copy of this Notice with the clerk of the state court.
21
22
23
24
25
26
27
28

                                                -4-
                                         NOTICE OF REMOVAL
     Case 2:19-cv-01376-PSG-SS Document 1 Filed 02/25/19 Page 5 of 5 Page ID #:5



 1                                      CONCLUSION
 2          WHEREFORE, MWW hereby removes this action from the Superior Court of
 3    California, County of Los Angeles, to the United States District Court for the Central
 4    District of California.
 5
      Dated: February 25, 2019.                 ARNOLD & PORTER KAYE SCHOLER
 6                                              LLP
 7                                              By: /s/ Sean A. McCormick
                                                   Sean A. McCormick
 8                                                 777 S. Figueroa Street, 44th Floor
 9                                                 Los Angeles, CA 90017
                                                   Telephone: (213) 243-4000
10                                                 Facsimile: (213) 243-4199
                                                   sean.mccormick@arnoldporter.com
11
12                                                   Attorney for Defendant
                                                     MWW GROUP, LLC
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              -5-
                                       NOTICE OF REMOVAL
